  Case 23-12410-amc         Doc 12-3 Filed 10/25/23 Entered 10/25/23 10:33:06         Desc
                                Proposed Order Page 1 of 1



                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Lisa A Shingle
                             Debtor                                  CHAPTER 13

Wilmington Savings Fund Society, FSB, Not In Its
Individual Capacity But Solely As Owner Trustee
For The FLIC Residential Mortgage Loan Trust 1
                              Movant                               NO. 23-12410 AMC

                 vs.

Lisa A Shingle
                             Respondents

Kenneth E. West
                             Trustee

                                                   ORDER


        Upon consideration of the Objection to Confirmation of the Chapter 13 Plan filed by

 Wilmington Savings Fund Society, FSB, Not In Its Individual Capacity But Solely As Owner

 Trustee For The FLIC Residential Mortgage Loan Trust 1, it is Ordered and Decreed that

 confirmation is denied.



                                                           ________________________________
                                                           Bankruptcy Judge
